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Document title:                  CNN.com - Transcripts

Capture URL:                     http://transcripts.cnn.com/TRANSCRIPTS/1702/26/rs.01.html

Captured site IP:                157.166.226.110

Page loaded at (UTC):            Tue, 19 May 2020 21:35:21 GMT

Capture timestamp (UTC):         Tue, 19 May 2020 21:36:03 GMT

Capture tool:                    v6.13.15

Collection server IP:            52.7.109.102

Browser engine:                  Chrome/70.0.3538.77

Operating system:                Microsoft Windows NT 10.0.14393.0 (10.0.14393.0)

PDF length:                      17

Capture ID:                      31b3069a-a44d-4d3b-9742-57b001d9c64f

User:                            bc-gayla




                        PDF REFERENCE #:           nHMxSB5csgttUGLkBmV5P2
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Capture URL: http://transcripts.cnn.com/TRANSCRIPTS/1702/26/rs.01.html
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